901 F.2d 1116
    284 U.S.App.D.C. 64
    INDEPENDENT U.S. TANKER OWNERS COMMITTEE, et al.v.Samuel K. SKINNER, in his capacity as Secretary of theUnited States Department of Transportation, et al.American Petrofina, Incorporated, Appellants.and consolidated cases.Nos. 88-5313, Civ. A. 87-1685 and Civ. A. 87-2102.
    United States Court of Appeals,District of Columbia Circuit.
    April 9, 1990.
    
      Before BUCKLEY and WILLIAMS, Circuit Judges, and GEORGE H. REVERCOMB,* District Judge for the District of Columbia.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of appellee Overseas Shipholding Group, Inc.'s motion to recall and modify the mandate, the responses thereto, and the reply, it is
    
    
      2
      ORDERED by the court that the motion to recall and modify the mandate be granted.  See Dilley v. Alexander, 627 F.2d 407, 410-11 (D.C.Cir.1980).  It is
    
    
      3
      FURTHER ORDERED AND ADJUDGED by the court that the judgment of the District Court appealed from in these cases be reversed, in accordance with the opinion of the court filed August 22, 1989 (884 F.2d 587 (D.C.Cir.1989)) and these cases be remanded to the District Court for resolution of appellees' National Environmental Policy Act claims.
    
    
      4
      The Clerk is directed to issue, forthwith, a certified copy of this order to the Clerk of the District Court in lieu of formal mandate.
    
    
      
        *
         Sitting by designation pursuant to 28 U.S.C. Sec. 292(a)
      
    
    